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                              JUDGE CHANG                                                      ,a
                                   MAGISTRATE JUDGE HAIUANI

                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                      19C R                       573
                  v.                             )
                                                 )      Violations: Tit1e 18, United States
ROBERT S. WAKSMUNDZKI,                           )      Code, Section 371, and Title 26,
          also known as "Flippy"                 )      United States Code, Section 7206(7)


                                       COUNT ONE                       FILET)
      The UNITED STATES ATTORNEY charges:                                   JUL   16   2019


      1. At times material to this Information:                         THOMAS G. BRUTON
                                                                      CLERK, U.S. DISTRICT COURT

             a.        "BitTorrent" was a system for quickly distributing large files over

the Internet. Instead of downloading a file, such as a movie, from a single source,

BitTorrent enabled a user to connect to the computers       o'f   other BitTorrent users in

order to simultaneously download and upload pieces of the fiIe from and to other

users. To use BitTorrent to download that movie, the user had to obtain a "torrent"

file for that movie, which contained instructions for identifying the Internet
addresses of other BitTorrent users who had the movie, and for downloading the

movie from those users. Once a user downloaded all of the pieces of that movie from

the other BitTorrent users, the movie was automatically reassembled into its original

form, ready for playing.

             b.        Website A, Website B, Website C, Website D, Website E

(collectively, the "BitTorrent Sites") were some of the commercial websites that

facilitated and promoted the reproduction and distribution of copyrighted content
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over the Internet without the authorization of the copyright owners. The BitTorrent

Sites created a publicly accessible network that relied on BitTorrent technology,

enabling visitors to the BitTorrent Sites to copy and obtain copyrighted material

directly from other users for free.

             c.     Torrentz.com, torre tatz.ew, toruentz.ch, torren tz.cx, torrentz.hk,

torrentz.in, torrentz.li, torrentz.me, torrentz.mx, and torrentz.ph, and torrentz-

proxy.com (collectively, "Torrentz") operated as a search engine for the BitTorrent

Sites. Visitors to Torrentz could search for and locate copyrighted materials. Visitors

to Torrentz could then be redirected to the BitTorrent Sites, through which they could

acquire copyrighted. materials without the lawful copyright owners'permission.

             d.     Defendant Robert S. Waksmundzki and Individual A operated

Torrentz.

             e.     Defendant Robert S. Waksmundzki was the owner, agent, and

sole member of Waksmundzki, LLC.

      2.     Beginning on or about JuIy 15, 2003, and continuing to on or about

June 4, 20L5, in the Northern District of Illinois, Eastern Division, and elsewhere,

                            ROBERT S. WAKSMUNDZKI,
                              also known as "Flippy,"

defendant herein, conspired with Individual A and others known and unknown, to

willfully, and for purposes of commercial advantage and private financial         gain,

infringe a copyright by distribution of a work being prepared. for commercial
distribution, by making it available on a computer network accessible to members of

the public, when defendant knew and should have known that that work was
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intended for commercial distribution, in violation of Title 17, United States Code,

Section 506(a)(1)(C) and Title 18, United States Code, Section 23L9(d)(2).

       3.      It   was part of the conspiracy that d"efendant Robert S. Waksmundzki

and Individual A designed, developed, and operated Torrentz in order to encourage,

induce, facilitate, engage in, and generate millions of dollars from the unlawful

reproduction and distribution of copyright-protected media, including movies (somg

of which were still playing in theaters), television shows, music, vid"eo games,
computer software, and electronic books, without permission of the copyright holder.

                                The Operation of Torrentz

       4.      It was further part of the conspiracy that defendant Robert S.
Waksmundzki identified BitTorrent Sites that mad.e copyrighted materials available

to visitors.

       5.      It was further part of the conspiracy that         defend.ant Robert   S.

Waksmundzki contacted" and caused to be contacted the operators of the BitTorrent

Sites, and requested that the operators add code to their websites to permit Torrentz

to more efficiently retrieve information from the BitTorrent Sites. Torrentz then used

this information to assist users in their search for copyrighted materials.

       6.      It was further part of the conspiracy that defendant Robert S.
Waksmundzki created and caused to be created code that permitted Torrentz visitors

to be re-routed to the BitTorrent Sites to assist the visitors' subsequent acquisition of

copyrighte d materials.
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      7.     It was further part of the conspiracy that defendant Robert S.
Waksmundzki contacted and caused to be contacted advertisers for the purpose of

securing advertising agreements, and that Waksmundzki displayed and caused to be

displayed advertisements on Torrentz, thereby generating revenue from the websites.

      8.     It was further part. of the conspiracy that defendant Robert S.
Waksmundzki opened Citibank checking account number xxxxx8052 in the name of

Waksmundzki LLC and that he used the account to receive advertising revenue

generated by Torrentz.

      9.     It was further part   of the conspiracy that, between January 1, 2009 and

March 3L, 2015, defendant Robert S. Waksmundzki caused advertisers to deposit

approximately $9.8 million into Citibank checking account number xxxxx8052.

      10. It was further part of the conspiracy that defendant Robert S.
Waksmundzki paid and caused to be paid Individual         A as compensation for his
participation in the operation of Torrentz.

      11. It was further part of the conspiracy that defendant Robert S.
Waksmundzki concealed, misrepresented, and hid, and caused to be concealed,

misrepresented, and hidden, the existence and purpose of the conspiracy and the acts

done in furtherance of the conspiracy.

                                       Overt Acts

      72. In     furtherance of the conspiracy and       to   accomplish   its   unlawful

objectives, defendant Robert S. Waksmundzki and others committed and caused to
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                                                                        ,t
                                                                           #:5




be committed the following overt acts in the Northern District of Illinois and

elsewhere:

             a.     On or about July 15, 2003, defend.ant Robert S. Waksmundzki

rented and caused to be rented the website domain torrentz.com.

             b.     On or about April 7, 2006, defendant Robert S. Waksmundzki

rented and caused to be rented the website domain torrentz.eu.

             c.     On or about January 8,2014, defendant Robert S. Waksmundzki

sent and caused to be sent to Individual A payment of approximately $24,726 as

compensation for Individual A's assistance in the operation of Torrentz.

             d.     On or about November 13, 2014, defendant Robert                 S.

Waksmundzki sent an email to a representative of Advertiser A regarding    a   payment

issue with the company's advertisements on Torrentz.

             e.     On or about March 18, 2015, defendant Robert S. Waksmundzki

caused Advertiser   B to deposit approximately     $117,982   into Citibank checking
account number xxxxx8052 as payment for the company's advertisements on

Torrentz.

      AII in violation of Title 18, United States Code, Sections 371.
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                                    COUNT TWO

      The UNITED STATES ATTORNEY further charges:

      On or about April 18, 2011, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                            ROBERT S. WAKSMUNDZKI,
                              also known as "Flippy,"

d.efendant herein,   willfully made and subscribed, and caused to be made          and

subscribed, a U.S. Individual Income Tax Return (Form 1040         with schedules and
attachments), for the calendar year 2OlO, which return was verified by written

declaration that   it was mad.e under the penalties   of perjury and was filed with the

Internal Revenue Service, which return he did not believe to be true and correct as to

every material matter, in that said return reported on the Schedule C (Profit or Loss

from Business) that the net profit from Waksmundzki LLC was $257,957, when

defendant knew that Waksmundzki LLC had a net profit that substantially exceeded

that amount;

      In violation of Title 26, United States Code, Section, 7206(l).
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                            FORFEITURE ALLEGATION

      The UNITED STATES ATTORNEY alleges:

      1.     Upon conviction of an offense in violation of Title 18, United States Code,

Section 371, as set forth in this Information, defendant shall forfeit to the United

States of America any property that constitutes and          is d.erived from   proceeds

traceable to the offense, as provided      in Title   18, United States Code, Section

981(a)(1)(C) and Title 28, United States Code, Section 2a67@).

.     2.     If any   of the property described above, as a result of any act or omission

by the d.efendant: cannot be located. upon the exercise of due diligence; has been

transferred or sold to, or deposited with, a third party; has been placed beyond the

jurisdiction of the Court; has been substantially diminished in value; or has been

commingled   with other property which cannot be divided without difficulty,         the

United States of America shall be entitled to forfeiture of substitute property,      as

provided in Title 21, United States Code, Section 853(p).
